                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                                                                     Motion GRANTED.
 UNITED STATES of AMERICA,                              Case No: 3:13-00012
                                                        JUDGE TRAUGER
 vs.


 CHARLES JEFFREY EDWARDS                 /

             DEFENDANTS’ UNOPPOSED REQUEST TO TRAVEL

        Comes Now the Defendant Charles Jeffrey Edwards by and through his

 undersigned counsel and respectfully files this unopposed request to travel. In

 support the undersigned would show as follows:

        1. Mr. Edwards seeks permission to travel to New York commencing on

 Sunday, August 31st and returning Thursday, September 4th.

        2. He will be renting a car and traveling to Bennington Vermont to stay

 with his sister through the Labor Day Holiday and then he will return to New York

 to meet with several new customers of his family’s produce business.

        3. The undersigned has spoken with Mr. Edward’s probation officer

 Michael Cannon and AUSA Kathryn Ward Booth who have advised they have no

 objection to Mr. Edward’s request to travel.

        Wherefore based on the foregoing the undersigned respectfully requests

 this Honorable Court grant Mr. Edward’s unopposed request to travel.

                           CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of this Motion was electronically mailed

 to AUSA Kathryn Ward Booth and AUSA Sandra Moses this 22nd day of August 2014.




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